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U.S. DISTRICT COURT
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cr \ WESTERN DISTRICT OF MICHIGAN
>, ° SOUTHERN DIVISION
1:25-cv-542
ARTHUR LEE BEEN, JR., nkee Sue oweltduage
Plaintiff,
No.
-\V-

HON. ANGELA PASULA,
District Judge Berrien County,

GRETCHEN WHITMER,

dames C cacy ab.
COL, , Director

of the Michigan State Police,
in their official capacities
JURY DEMAND

Defendant.

PETITION FOR EMERGENCY EX PARTE
RESTRAINING ORDER AND REQUEST FOR HEARING

Respectfully submitted,

Arthur L. Been Jr., Pro Se,
34871 28th Ave
Paw Paw, MI 49079
(405 )-906-9999

artb@hamptonlaw.net

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

ARTHUR LEE BEEN, JR.,

Plaintiff,
No.

-V-

HON. ANGELA PASULA,
District Judge Berrien County, Michigan

GRETCHEN WHITMER, Governor
State of Michigan,

COL. JAMES F. GRADY II, Director

of the Michigan State Police,
in their official capacities

Defendant.

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PETITION FOR EMERGENCY EX PARTE RESTRAINING

ORDER, INJUNCTION AND REQUEST FOR HEARING

COMES NOW, the Plaintiff, Arthur L. Been Jr., Pro Se, and moves this Court to

issue an Ex Parte Emergency Restraining Order to prohibit an action that will cause

irreparable injury.

A. PARTIES

1. Plaintiff: Arthur L. Been SJr., is a resident Van Buren County, State of

Michigan.

2. Defendant: Hon. Angela Pasula, District Judge of the Berrien County Trial
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Court, 811 Port St, St Joseph, MI 49085, was working under color of State law when the
allegations arose.

3. Defendant: GRETCHEN WHITMER, Governor of the State of Michigan,
111 S. Capital Ave., Lansing Michigan, 48933.

4. Defendant: COL. JAMES GRADY, Director of the Michigan State
Police, in their official capacities, were working under color of State law when the
allegations arose.

B. JURISDICTION AND VENUE

5. Jurisdiction is proper under 28 U.S.C. §§ 1331 and 1343 because Plaintiffs
seek redress under 42 U.S.C. § 1983 for the deprivation of rights secured by the U.S.
Constitution.

6. Plaintiff's request for declaratory and injunctive relief are authorized by 28
U.S.C. §§ 2201-2202, by Fed. R. Civ. P. 57 and 65, and by the legal and equitable powers
of this Court to protect and effectuate a judgment from the United States District Court for
the Eastern District of Michigan.

7. Venue is proper pursuant to 28 U.S.C. § 1391.

C. INTRODUCTION

8. There has been ongoing litigation in a class action case in the Eastern District
of Michigan, Does v. Whitmer, et. al., Case No. 2:22-cv-10209-MAG-CI. See [Exhibit 1
Amended Judgment] The case has addressed the constitutionality of Michigan’s Sex
Offenders Registration Act (SORA).

9. Plaintiff is subject to registration requirements for a conviction from another
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jurisdiction, that involves no victim and is a member of the “non-Michigan offense
subclass” in Does v. Whitmer, et. al..

10. The “non-Michigan offense subclass” is defined as “members of the primary
class who are or will be subject to sex offender registration under Mich. Comp. Laws §§
28.722(r)(xi); (t)(xili); (v)(ix); or 28.723(1)(d), for a conviction or adjudication from a
jurisdiction other than Michigan. (ECF No. 177, PageID.9378)

11. SORA does not delegate authority to the Michigan State Police (MSP) to
make determinations about which individuals with non-Michigan convictions must
register, or what tier level or requirements should apply.

12. However, in practice the MSP makes unilateral decisions about whether
someone with a non-Michigan conviction is subject to registration, and ifso, what tier level
and requirements apply.

13. If the non-Michigan offense has not been listed or tiered in the spreadsheet,
the frontline staff are instructed to consult an analyst.

14. Within the MSP, staff do not always agree about whether a person with an
out-of-state offense must register in Michigan, or what a person’s registration requirements
should be.

15. On April 22, 2025, Honorable Mark A. Goldsmith issued an Amended
Judgment (Dkt. 177) [Exhibit 1] finding SORA unconstitutional as applied to Non-
Michigan Offenses. The Amended Judgment states:

Plaintiffs are granted summary judgment on Count XI with respect to their

claims that (i) Defendants’ process for registering people with non-Michigan
convictions violates the Due Process Clause of the Fourteenth Amendment

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to the U.S. Constitution; and (ii) imposing longer or harsher requirements on

people with non-Michigan convictions than people with Michigan

convictions violates the Equal Protection Clause of the Fourteenth

Amendment to the U.S. Constitution.

Defendants are permanently enjoined from requiring registration under

SORA or enforcing SORA against Ms. Doe, Doe G, and the non-Michigan

offense subclass based on a conviction or adjudication from a jurisdiction

other than Michigan.

(ECF No. 177, PageID.9388)

16. Plaintiff asserts that when there are issues with the constitutionality of a
statute as here and a judicial determination that a statute is unconstitutional, the Courts and
Judges such as the Defendant Judge should be concerned, as persons bound! by the decision
should err even before the date the judgment becomes final as it creates constitutional
concern.

17. Further Plaintiff asserts that the District Court’s opinion regarding Count IX
— Compelled Admission of “Understanding” violates the first Amendment of the US
Constitution. The Court stated:

a. Plaintiffs are granted summary judgment on Count IX, which

challenged the requirement that registrants attest that they understand
their registration duties under SORA.

b. Requiring the Plaintiffs and primary class members to attest to

understanding their registration duties under SORA violates the
protection against compelled speech of the First Amendment of the

U.S. Constitution.

c. Defendants are permanently enjoined from requiring Plaintiffs and the
primary class members to attest that they understand their obligations

‘Persons Bound: Fed. R. Civ. P. 65(d)(2) sets out the persons who can be bound by an injunction: the parties, their

“officers, agents, servants, employees, and attorneys,” and “other persons who are in active concert or participation”
with them. Given that SORA is enforced by hundreds of law enforcement agencies throughout the state, the district

Court followed the language of Rule 65.

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under SORA. (ECF No. 177, PageID.9387)

D. GROUNDS

I. Michigan Sex Offender Registration Statutes are vague as they
vest law enforcement with discretion that should be defined
under the statutes.

ARGUMENT AND AUTHORITY

18. Plaintiff was charged in the State Court with a violation of Sex offender
Registration in May of 2024. It was alleged that Plaintiff gave false information.

19. In April of 2024 Plaintiff was contacted by MSP at the phone number on
Plaintiff's registration paperwork. MSP informed Plaintiff he had to register, and Plaintiff
complied on May 1, 2024.

20. It is important to discuss why the MSP contacted Plaintiff, because before
April 2024 he had never received Notice and that is due to the fact that on April 6, 2020,
the United States District Court for the Eastern District of Michigan, Doe v. Snyder et al.,
Case No. 2:16-cv-13137, ECF No. 91, PageID.1847 issued an “INTERIM ORDER
DELAYING ENTRY OF FINAL JUDGMENT, PRELIMINARILY ENJOINING
REPORTING REQUIREMENTS, AND DIRECTING PUBLICATION.” The Federal
Court stated:

IT IS FURTHER ORDERED that Defendants, and their agents are

PRELIMINARILY ENJOINED from enforcing registration, verification,

school zone, and fee violations of SORA that occurred or may occur from

February 14, 2020, until ... and thereafter until registrants are notified of

what duties they have under SORA going forward. This interim injunctive

relief conforms with and implements this court’s order that registrants cannot

be held strictly liable for SORA violations. (ECF No. 84, PageID.31.)

(ECF No. 91, PageID. 1850)
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21. Coloma Township Police Chief Wes Smigielski alleges that Plaintiff gave
false information by reporting his address as 6800 Pine Court Unit B because it was not
habitable. This has been where Plaintiff registered since he moved to Coloma Township.

22. Admittedly, the dwelling was never habitable since the day it was purchased
from the previous owner. See Letter of condemnation to previous owner Brock Bitner.
[Exhibit 2] This property was a preexisting non-conforming structure.

23. Here, is where the statutes are vague because he had an RV (Motorhome)
parked on the property on Unit B side and this is why he registered to Unit B. See [Exhibit
3]

24. The RV shared the sewer, electric and water with 6800 Pine Court Unit B.
The RV had been parked on Unit B side almost since the purchase of the property. The RV
provided “a regular place of lodging” pursuant to MCL 28.722(0) and that cannot be
disputed because the facts supported that the RV was habitable but the Officer chose not
to inspect the RV. MCL 28.722(0) which defines Residence as:

(0) “Residence”, as used in this act, for registration and voting purposes

means that place at which a person habitually sleeps, keeps his or her

personal effects, and has a regular place of lodging. If a person has more

than | residence, or if a person has a residence separate from that of his or

her husband or wife, that place at which the person resides the greater part of

the time must be his or her official residence for the purposes of this act. Ifa

person is homeless or otherwise lacks a fixed or temporary residence,

residence means the village, city, or township where the person spends a

majority of his or her time. This section shall not be construed to affect

existing judicial interpretation of the term residence for purposes other than

the purposes of this act.

25. Officer Smigielski based his determination on the fact that Unit B lacked an

occupancy permit and was not in livable conditions, indicating a false SOR registration.
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PH at 18-19. Further MCL 28.722(0) also specifically provides If a person is homeless or
otherwise lacks a fixed or temporary residence....

26. The RV qualifies as a residence under statute or at least it should. Officer
Smigielski was asked “[s]omebody could -- and those -- the mobile -- or the RV’s are used
or can be used to sleep in, correct?” He replied: “That -- sure, yes.” PH at 16. Additionally,
since the Defendant had the RV listed on his SORA registration, it is reasonable to inspect
the RV to determine whether the Defendant had any personal belongings there.

27. Another issue with SORA is whoever puts information into the database is
not always reliable and the information is only reliable to the point of the person putting
the information into the database.

28. Here there has been no evidence of a statute, policy, regulation that would
prohibit using a motor home as a place of lodging if.a unit is not habitable. There is nothing
in the statutes about registration requirements if a person is occupying an RV on the
property of an uninhabitable dwelling. Plaintiff relied solely on the language of “fixed or
temporary residence.” However, it appears that Plaintiff must have been incorrect because
of the allegations that have been lodged against him. Officer Smigielski’s interpretation of
the statutes also invites ambiguities as in the case at bar because how is a person to ever
understand their reporting duties.

29. How can Defendant understand an unwritten legislative intent?

30. On May 8, 2024, Plaintiff updated/registration with the Van Buren County
Sheriff's Office. However, Plaintiff was still residing in Coloma Township and chose not

to return after Officer Smigielski alleged that Plaintiff did not reside at the residence.
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31. In a hearing that was held in the Berrien County Trial Court in front of
Defendant Judge Officer Smigielski was asked if he based his sole opinion that Plaintiff
did not reside at the address based on the habitability of the dwelling. Officer Smigielski
said NO.

32. Officer Smigielski returned to the property after the preliminary hearing and
took body cam footage of Unit B, while the motor home was still parked on Unit B side
and chose not to even look at or the motor home. So, Officer Smigielski’s decision was
based solely on the habitability of Unit B.

33. Plaintiff's date of birth is November 1974, which under registration
requirements the Defendant must register twice a year, May-November, because he is
classified as a Tier II offender. But how the MSP concluded that Plaintiff is a Tier II
offender is somewhat puzzling.

34. Plaintiff previously lived in Indiana and was classified by Indiana as a Tier I
offender required to register for 10 years. Thus, with the Order discussed above (ECF No.
177) In this regard SORA is void for vagueness and the Court’s decision that it is
unenforceable should carry much weight even before the effective date of the judgement
to ensure that that the Defendants comply with the demands of the constitution and not
subject an individual to the loss of liberty when a statute has been determined
unconstitutional by a Federal District Judge.

35. While Justice GORSUCH was still on the Tenth Circuit Court of Appeals,
he wrote for the Court. “The constitutional due process guarantee traces its roots to the

Magna Carta and the effort to deny capricious kings the “power of destroying at pleasure,”
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what Blackstone called the “highest degree” of tyranny. | William Blackstone,
Commentaries *133. So perhaps it comes as little surprise that we should look to the history
of efforts to tame arbitrary governmental action to determine whether and under what
conditions the conduct at issue is accepted as a necessary incident of organized society—
or whether it is associated with the sort of whimsical sovereign the due process guarantee
was designed to guard against. Browder v. City of Albuquerque, 787 F.3d 1076, 1082-83
(10th Cir. 2015)

36. When interpreting the meaning of a statute, our primary goal is to discern the
intent of the Legislature by first examining the plain language of the statute. Jn re MCI
Telecom. Complaint, 460 Mich. 396, 411, 596 N.W.2d 164 (1999); Sun Valley Foods Co.
v. Ward, 460 Mich. 230, 236, 596 N.W.2d 119 (1999). Statutory provisions must be read
in the context of the entire act, giving every word its plain and ordinary meaning. Herman
v. Berrien Co., 481 Mich. 352, 366, 750 N.W.2d 570 (2008); Macomb Co. Prosecutor v.
Murphy, 464 Mich. 149, 158, 627 N.W.2d 247 (2001). When the language is clear and
unambiguous, we will apply the statute as written and judicial construction is not permitted.
Danse Corp. v. Madison Hts., 466 Mich. 175, 182, 644 N.W.2d 721 (2002). This Court’s
opinion involved a judicial construction of an ambiguous statute where the rule of lenity
applies. Lenity only applies if the statute is ambiguous or “in absence of any firm indication
of legislative intent.” People v. Denio, 454 Mich. 691, 700, 564 N.W.2d 13 (1997). quoting
People v. Wakeford, 418 Mich. 95, 113-114, 341 N.W.2d 68 (1983). Here, lenity should
be applied under the circumstances because Defendant was denied an “advanced notice of

the conduct being prohibited,” where his RV served the basis of an otherwise fixed or
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temporary residence but ignored by Defendant judge.

37. For almost a decade, courts have repeatedly held Michigan’s Sex Offenders
Registration Act (SORA), M.C.L. § 28.721 et seq., to be unconstitutional. See Does #/-5
v. Snyder, No. 12-cv-11194 (E.D. Mich.) (Does 1); Roe v. Snyder, No. 16-cv-13353 (E.D.
Mich.); Does #1-6 v. Snyder, No. 16-cv-13137 (E.D. Mich.) (Does II); People v. Betts, __
N.W.2d __, 2021 WL 3161828 (Mich. July 27, 2021).

38. Despite these rulings, the State of Michigan continued to enforce a statute
Defendants knew to be unconstitutional. Finally, faced with the imminent entry of class-
wide permanent injunction in Does // barring enforcement of major portions of SORA, the
2020 legislature made minor amendments to the law. But the legislature left intact the core
constitutional defects of the law—which continues to impose extensive burdens, in most
cases for life, without any individualized assessment of whether such burdens are justified.

39. This Plaintiff is forced to bring litigation in an attempt to vindicate his rights
much like the rights of other litigants thru the history of Michigan’s SORA.

40. After years of litigation, and based on an extensive record, Judge Robert
Cleland in 2015 held portions of the statute unconstitutional on due process and First
Amendment grounds. Does #/-5 v. Snyder, 101 F. Supp. 3d 672 (E.D. Mich. 2015); Does
#1-5 v. Snyder, 101 F. Supp. 3d 722 (E.D. Mich. 2015). On appeal, the Sixth Circuit Court
of Appeals held that SORA imposes punishment and that the retroactive application of
SORA’s 2006 and 201 1 amendments violates the U.S. Constitution’s Ex Post Facto Clause.
See Does #1-5 v. Snyder, 834 F.3d 696 (6th Cir. 2016), cert denied, 138 S.Ct. 55 (2017).

41. Defendants ignored the Sixth Circuit’s and the district court’s decisions and
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simply continued to subject tens of thousands of other Michigan registrants to SORA.

42. Further litigation ensued. /n Roe v. Snyder, 240 F. Supp. 3d 697 (E.D. Mich.
2017) (Goldsmith, J.), plaintiff Mary Roe—who wass also Plaintiff Mary Roe—had to go
to court to protect herself from prosecution under SORA in order to keep her job, even
though the Sixth Circuit had already held that the provision barring her employment was
unconstitutional. But even after Ms. Roe secured an injunction protecting her from
prosecution, the state simply continued enforcing SORA against everyone else.

43. Six new plaintiffs—five of whom are also Plaintiffs in Eastern District’s case
then challenged the state’s continued application of the unconstitutional statute in a class
action lawsuit which sought to enforce the Does J decisions on behalf of all Michigan
registrants. Does #1-6 v. Snyder, No. 16-cv-13137 (E.D. Mich. 2016) (Cleland, J.) (Does
II). The Court repeatedly deferred its decision to allow the legislature time to revise the
law. When the legislature failed to do so, the Court granted summary judgment to plaintiffs
on all counts in February 2020, but deferred entry of judgment to give the legislature one
last chance to act. Does #1-6 v. Snyder, 449 F. Supp. 3d 719, 737-39 (E.D. Mich. 2020).

44. Faced with entry of a permanent injunction against much of the old SORA,
the legislature finally responded. Although a work group of stakeholders (including
representatives from law enforcement, prosecutors, corrections, survivors’ groups, the
governor’s offices, legislative staff, and the American Civil Liberties Union of Michigan
(ACLU)) had been working for more than a year to craft a law that would be both
constitutional and evidence-based, the legislature ignored those efforts. Instead, it pushed

through Public Act 295 of 2020, which the governor signed, and which took effect on
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March 24, 2021.

45. SORA 2021 makes only minor changes to Michigan’s registry which
fundamentally constrains the lives of some 45,000 Michiganders, as well as almost 10,000
people now living out of state. Like its predecessor, SORA 2021 imposes a vast regime of
restrictions, including continuous reporting and public shaming, that affect virtually every
facet of registrants’ lives.

46. SORA 2021 continues to impose life-altering burdens with no individualized
assessment or review. SORA 2021 continues to treat all registrants—regardless of the
circumstances of their offense, the passage of time, their age, their rehabilitation, their
health, or their cognitive and physical abilities—as if they pose a high and irremediable
risk to public safety. And SORA 2021 brands everyone on the public registry as a current
threat to the community with no evidence they are.

E. VOID FOR VAGUENESS

47. Under the void-for-vagueness doctrine, courts assess whether (i) “ordinary
people, exercising ordinary common sense, can understand [the statute] and avoid conduct
which is prohibited” and (ii) the statute “establishes minimal guidelines to govern
enforcement.” United States v. Salisbury, 983 F.2d 1369, 1378 (6th Cir.1993). The statute
provides minimal guidelines that Govern enforcement. The doctrine is intended to “ensure
fair notice to the citizenry” and “provide standards for enforcement by the police, judges,
and juries.” Columbia Nat. Res., Inc. v. Tatum, 58 F.3d 1101, 1104 (6th Cir.1995). “The
second prong— providing minimal guidelines to govern the conduct of law enforcement—

constitutes the more important aspect of the vagueness doctrine.” Belle Maer Harbor v.
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Charter Twp. of Harrison, 170 F.3d 553, 556-557 (6th Cir. 1999). “[A] failure to define
a term within a statute or ordinance does not render the statute unconstitutionally vague,
where the common meaning of the word provides both adequate notice of the conduct
prohibited and the standards for enforcement.” /d. at 558.

48. In our constitutional order, a vague law is no law at all. The vagueness
doctrine rests on the twin constitutional pillars of due process and separation of powers.
See Sessions v. Dimaya, 584 U.S.___, 138 S.Ct. 1204, 1212-1213 (2018) (GORSUCH, J.,
concurring in part and concurring in judgment) The United States Supreme Court has
sometimes adopted the narrower construction of a criminal statute to avoid having to hold
it unconstitutional if it were construed more broadly, but it has not invoked the canon to
expand the reach of a criminal statute to save it. To do so would risk offending the same
due process and separation of powers principles on which the vagueness doctrine itself
rests and would sit uneasily with the rule of lenity’s teaching that ambiguities about a
criminal statute’s breadth should be resolved in the defendant’s favor—Lenity.

49. | When Congress passes a vague law, the role of courts under our Constitution
is not to fashion a new, clearer law to take its place, but to treat the law as a nullity and
invite Congress to try again. U.S. v. Davis, 588 U.S.___, 139 S.Ct. 2319, 2223, 204 L.Ed.2d
757 (2019). Vague laws contravene the “first essential of due process of law” that statutes
must give people “of common intelligence” fair notice of what the law demands of them.
Connally v. General Constr. Co., 269 U.S. 385, 391, 46 S.Ct. 126, 70 L.Ed. 322 (1926);
see Collins v. Kentucky, 234 U.S. 634, 638, 34 S.Ct. 924, 58 L.Ed. 1510 (1914). Vague

laws also undermine the Constitution’s separation of powers and the democratic self-
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governance it aims to protect. Only the people’s elected representatives in the legislature
are authorized to “make an act a crime.” United States v. Hudson, 7 Cranch 32, 34, 11 U.S.
32, 3 L.Ed. 259 (1812). Vague statutes threaten to hand responsibility for defining crimes
to relatively unaccountable police, prosecutors, and judges, eroding the people’s ability to
oversee the creation of the laws they are expected to abide. See Kolender v. Lawson, 461
U.S. 352, 357-358, and n. 7, 103 S.Ct. 1855, 75 L.Ed.2d 903 (1983); United States v. L.
Cohen Grocery Co., 255 U.S. 81, 89-91, 41 S.Ct. 298, 65 L.Ed. 516 (1921); United States
v. Reese, 92 U.S. 214, 221, 23 L.Ed. 563 (1876).
F. CONCLUSION

50. Plaintiff states that prosecution under an unconstitutional statute should be
prohibited because irreparable injury will occur if convicted before the effective date of the
Eastern District’s Order. The Defendants and its agents have repeatedly ignored the Court
and issuing an injunction will protect the judgment issued in the Eastern District of
Michigan. See 28 U.S.C. § 2283 “A court of the United States may not grant an injunction
to stay proceedings in a state court except as expressly authorized by Act of Congress, or
where necessary in aid of its jurisdiction, or to protect or effectuate its judgments.” An
injunction would not be barred in this case as it will protect and effectuate the judgment of
the Court.

51. Plaintiff is set to begin jury trial in Defendant Judge’s Court on May 13,
2025, where irreparable injury may occur where a jury will be left at some confusion. See
[Exhibit 4 email from prosecutor] Jury confusion is certainly a possibility, especially

considering the fact that there has been a determination that the statute violates the
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constitution. To obtain a TRO, a plaintiff must show specific facts in a verified complaint
that clearly demonstrate an immediate or irreparable injury will result to the plaintiff before
the adverse parties may be heard in opposition. FED. R. CIV. P. 65(b)(1)(A). When
considering whether to issue a TRO, this Court considers (1) whether Plaintiffs have shown
a substantial likelihood it will prevail on the merits of its claim, (2) whether there is a threat
of irreparable harm to Plaintiffs if the TRO does not issue, (3) whether issuance of a TRO
will substantially harm others, and (4) whether issuance of the TRO is in the public interest.
Essroc Cement Corp. v. CPRIN, Inc., 593 F.Supp.2d 962, 967 (W.D. Mich. 2008)
(Maloney, C.J.). “Ex parte temporary restraining orders are not doubt necessary in certain
circumstances, but under federal law they should be restricted to serving their underlying
purpose of preserving the status quo and preventing irreparable harm just so long as is
necessary to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Brotherhood of
Teamsters and Auto Truck Drivers Local No. 70, 415 U.S. 423, 439 (1974) (citation
omitted).

G. RELIEF REQUESTED
WHEREFORE, the Petitioner respectfully prays this Court will issue an Order

Granting a temporary injunction. Petitioner request this Court hold a hearing to address the

constitutionality of SORA and then issue a permanent injunction.

Respgecpfully submitted
sf & / fo A.
NL

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H. CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented
for an improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or

discovery; and (4) the complaint otherwise complies with the requirements of Rule
11. A.

For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—

related papers may be served. I understand that my failure to keep a current address
on file with the Clerk’s Office may result in the dismissal of my case.

Date pf signing: May 9, 202

aturé of Plaintiff

Arthur L. Been Jr.,
Printed Name of Plaintiff

CERTIFICATE OF SERVICE

I certify that on this 9° day of May 2025, I hand delivered the above and forgoing
to the Clerk of Court and that the Clerk will electronigally transmit using the ECF System
to the registered ECF registrant:

“Arthur L. Been Jr., ~=-_—_——"

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